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                   Exhibit 3
             Declaration of Mario R. Dickerson
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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                        AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC
MEDICINE, on behalf of itself, its members,
and their members, and their members’
patients; AMERICAN ASSOCIATION OF
PRO-LIFE OBSTETRICIANS AND
GYNECOLOGISTS, on behalf of itself, its
members, and their patients; AMERICAN         Case No. _____________
COLLEGE OF PEDIATRICIANS, on
behalf of itself, its members, and their
patients; CHRISTIAN MEDICAL &
DENTAL ASSOCIATIONS, on behalf of
itself, its members, and their patients;
SHAUN JESTER, D.O., on behalf of
himself and his patients; REGINA FROST-
CLARK, M.D., on behalf of herself and her
patients; TYLER JOHNSON, D.O., on
behalf of himself and his patients; and
GEORGE DELGADO, M.D., on behalf of
himself and his patients,
              Plaintiffs,

      v.

U.S. FOOD AND DRUG
ADMINISTRATION; ROBERT M.
CALIFF, M.D., in his official capacity as
Commissioner of Food and Drugs, U.S. Food
and Drug Administration; JANET
WOODCOCK, M.D., in her official capacity
as Principal Deputy Commissioner, U.S.
Food and Drug Administration PATRIZIA
CAVAZZONI, M.D., in her official capacity
as Director, Center for Drug Evaluation and
Research, U.S. Food and Drug
Administration; U.S. DEPARTMENT OF
HEALTH AND HUMAN SERVICES; and
XAVIER BECERRA, in his official capacity
as Secretary, U.S. Department of Health and
Human Services,
             Defendants.



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                  DECLARATION OF MARIO R. DICKERSON

      I, Mario R. Dickerson, a citizen of the United States and a resident of Willow

Grove, Pennsylvania, declare under penalty of perjury under 28 U.S.C. § 1746 that

the following is true and correct to the best of my knowledge.

   1. I am over eighteen years old and make this declaration on personal

      knowledge.

   2. I serve as the Executive Director of the Catholic Medical Association

      (“CMA”). Given my involvement in CMA, I am familiar with the

      organization’s history, the issues confronting it, and the views of the

      organization and its members concerning various emerging issues, including

      the deregulated use of mifepristone, or RU-486, to accomplish chemical

      abortions. I am also familiar with CMA members and their practices.

   3. CMA is the largest association of Catholic individuals in healthcare. CMA is a

      national, physician-led community that includes about 2700 physicians and

      healthcare professionals nationwide.

   4. CMA is a nonprofit organization incorporated in Virginia, and its registered

      agent is in Virginia.

   5. CMA’s mission is to inform, organize, and inspire its members, in steadfast

      fidelity to the teachings of the Catholic Church, to uphold the principles of the

      Catholic faith in the science and practice of medicine.

   6. CMA seeks to pursue its mission in conformity to Christ the Divine Physician.

      Its members are challenged to be a voice of truth spoken in charity, to show




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   how Catholic teachings on the human person, human rights and the common

   good intersect with and improve the science and practice of medicine, and to

   defend the sacredness and dignity of human life at all stages.

7. CMA is a member of the Alliance for Hippocratic Medicine (AHM).

8. CMA is committed to taking a Catholic and Hippocratic approach to medicine.

9. Consistent with Catholic teaching, CMA and its members are morally and

   ethically opposed to all forms of abortion—chemical or surgical.

10. I have spoken with CMA members who have treated women harmed by

   chemical abortion drugs.

11. The FDA’s unauthorized approval of mifepristone (also known as “Mifeprex”

   and “RU-486”) and subsequent elimination of certain safeguards for the use of

   the dangerous chemical abortion drug regimen, including those found in the

   Risk Evaluation and Mitigation Strategy (REMS) for mifepristone, has led to

   an increasing risk that women and girls may suffer adverse events from

   chemical abortion.

12. The FDA has continued to eliminate safeguards such that the chemical

   abortion drugs can now be administered and dispensed with no in-person

   examination or oversight by a physician. This leaves physicians, including

   CMA members, to treat the complications that women and girls suffer due to

   the actions of the FDA and abortionists.




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13. CMA’s member physicians include OB/GYNs and emergency department

   physicians who have treated women suffering complications from chemical

   abortion.

14. The FDA’s actions harm CMA and its member physicians who are called away

   from other patients to render emergency treatment to women and/or girls who

   present to emergency departments with symptoms, such as heavy bleeding and

   severe pain, and more serious complications, including hemorrhage and sepsis

   caused by chemical abortion drugs. This causes CMA’s member physicians

   much stress and grief, while impeding their ability to perform their practice of

   medicine in the manner that they desire.

15. Often, emergency department doctors do not have a prior relationship with

   these patients and lack access to the patient’s medical history. Sometimes

   these patients were underinformed about the effects of the chemical abortion

   drug regimen, they may not even know what drugs they consumed, or they are

   told to say they are suffering a miscarriage if there is a need for them to seek

   emergency help following a chemical abortion. This leaves doctors at increased

   risk of liability and could impact their ability to render the best care possible

   to the patient—all because of the FDA’s elimination of necessary safeguards.

16. Moreover, the FDA’s removal of necessary safeguards could force CMA

   members to treat women and girls who present to emergency departments

   following an elective chemical abortion requiring those doctors to complete an




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   unfinished elective abortion—terminating the life of an unborn child—in

   violation of their conscience rights.

17. Since 2005, CMA has called upon the FDA to respond to citizens petitions

   calling for removal of RU-486 from the market in an urgent action. CMA

   renewed this resolution in 2015.

18. In 2016, CMA enacted a resolution that called for the FDA to require a central

   registry for all those having a chemical abortion, with mandatory reporting

   from every state and territory of complications and mortalities from chemical

   abortions; that the drug be administered only by a physician with surgical

   privileges at a hospital within 30 minutes of the facility where the drug is

   dispensed; that the dispensing physician be responsible for follow-up and

   handling of complications; and that the patient be informed that the process

   could be stopped without harm to her or the baby.

19. These resolutions are vital to ensure the safety of women and girls, and to

   protect doctors, including CMA members.

20. CMA has spent considerable time, effort and resources challenging the FDA’s

   actions—at the expense of other CMA priorities. For example, to implement

   these resolutions, committees have had to review them, it has taken time

   during General Assembly meetings to discuss them, which takes our members

   away from their other business, and it has taken time for our Executive

   Director and Board to review, taking them away from other priorities such as

   fundraising and membership recruitment and retention.




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21. Due to inadequate adverse event reporting, the true rates of risks associated

   with chemical abortion drugs remain unknown and undercounted. This

   prevents CMA from providing the public, their members, and their members’

   patients with accurate statistics and complete information regarding the risks

   associated with the use of chemical abortion drugs.

22. CMA is a leading national voice on applying the principles of the Catholic faith

   to medicine. CMA creates and organizes educational resources and events;

   advocates for members, the Church, and the medical profession in public

   forums; and provides guidance for bishops and other national leaders on

   healthcare ethics and policy. The inability to share accurate information on the

   risks of chemical abortion frustrates and complicates CMA’s purpose to

   educate doctors, their patients, and the public about these dangers.


                           12 2022.
   Executed this November ____,



                                   By:
                                         Mario R. Dickerson




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